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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
         In re:
                                                                            Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES, LLC, et
         al.,1                                                              (Jointly Administered)

                                            Debtors.                        Hearing Date:
                                                                                December 19, 2018 at 2:00 p.m. (ET)
                                                                            Objection Deadline:
                                                                                December 11, 2018 at 4:00 p.m. (ET)

          DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE SALE OF
           4030 MADELIA AVE., SHERMAN OAKS, CALIFORNIA PROPERTY OWNED BY
           THE DEBTORS FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
          OTHER INTERESTS; (II) APPROVING THE RELATED PURCHASE AGREEMENT;
                          AND (III) GRANTING RELATED RELIEF

                  Woodbridge Group of Companies, LLC and its affiliated debtors and debtors in

         possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

         Cases”) hereby move the court (this “Motion”) for entry of an order (the “Sale Order”),

         substantially in the form attached hereto as Exhibit A, pursuant to sections 105(a) and 363 of title

         11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rule 6004 of the

         Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6004-1 of the Local

         Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

         District of Delaware (the “Local Rules”) (i) authorizing the sale (the “Sale”) of real property

         owned by the Debtor Doubleleaf Investments, LLC (the “Seller”) located at 4030 Madelia Ave.,

         Sherman Oaks, California 91403 (the “Land”), together with Seller’s right, title, and interest in


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                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.
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         and to the buildings located thereon and any other improvements and fixtures located thereon

         (collectively, the “Improvements” and together with the Land, the “Real Property”), and any and

         all of the Seller’s right, title, and interest in and to the tangible personal property and equipment

         listed in the Purchase Agreement and remaining on the Real Property as of the date of the closing

         of the Sale (collectively, the “Personal Property” and, together with the Real Property, the

         “Property”) on an “as is, where is” basis, free and clear of any and all liens, claims,

         encumbrances, and other interests to Sharon Gabay and Ayalla Ben Ami (together with any

         assignee, the “Purchaser”) pursuant to the terms and conditions of that certain Vacant Land

         Purchase Agreement and Joint Escrow Instructions dated as of October 11, 2018 (as has been or

         may be amended, supplemented, or otherwise modified from time to time, the “Purchase

         Agreement”) by and between the Seller and the Purchaser, a copy of which is attached as Exhibit

         1 to the Sale Order; (ii) authorizing and approving the terms of the Purchase Agreement, and

         (iii) granting certain related relief. In support of the Motion, the Debtors respectfully represent

         as follows:

                                          JURISDICTION AND VENUE

                1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and

         157 and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to

         28 U.S.C. § 157(b) and, pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a

         final order by the Court in connection with this Motion to the extent that it is later determined

         that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

         herewith consistent with Article III of the United States Constitution. Venue is proper before the

         Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief


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         requested herein are 105(a) and 363 of the Bankruptcy Code, Bankruptcy Rule 6004, and Local

         Rules 2002-1, 4001-2, and 6004-1.

                                              CASE BACKGROUND

                2.      On December 4, 2017, 279 of the Debtors commenced voluntary cases under

         chapter 11 of the Bankruptcy Code. Thereafter, on February 9, 2018, March 9, 2018, March 23,

         2018, and March 27, 2018, additional affiliated Debtors (27 in total) commenced voluntary cases

         under chapter 11 of the Bankruptcy Code (collectively, the “Petition Dates”). Pursuant to

         sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors are continuing to manage their

         financial affairs as debtors in possession.

                3.      The Chapter 11 Cases are being jointly administered pursuant to Bankruptcy Rule

         1015(b) and Local Rule 1015-1. No trustee has been appointed in the Chapter 11 Cases. An

         official committee of unsecured creditors (the “Committee”) was appointed in the Chapter 11

         Cases on December 14, 2017 [D.I. 79]. On January 23, 2018, the Court approved a settlement

         providing for the formation of an ad hoc noteholder group (the “Noteholder Group”) and an ad

         hoc unitholder group (the “Unitholder Group”) [D.I. 357].

                                                       THE SALE

                4.      The Property. As further detailed in the Declaration of Bradley D. Sharp in

         Support of Debtors’ Motion to Sell 4030 Madelia Ave., Sherman Oaks, California Property filed

         on the date hereof (the “Sharp Declaration”), the Property consists of an approximately 0.46 acre

         vacant lot situated in Sherman Oaks, California. The Seller purchased the Property in August

         2014 for a purchase price of $1,325,000. Sharp Decl. ¶ 3. The Seller intended to develop the

         Property; however, no development was ever undertaken and the Real Property remains vacant.

         Id. The Purchaser made an all cash offer under the Purchase Agreement to acquire the Property


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         on an “as is” basis. Id. Accordingly, the Debtors have determined that selling the Property now

         on an “as is” basis best maximizes the value of the Property. Id. ¶ 4. The Property has been

         marketed for sale and formally listed on the multiple-listing service for over 195 days, and has

         been widely marketed, including in various publications. Id. The Purchaser’s all cash offer to

         acquire the Property under the Purchase Agreement is the highest and otherwise best offer (and

         the only offer) the Debtors have received. Id. Accordingly, the Debtors determined that selling

         the Property on an “as is” basis to the Purchaser is the best way to maximize the value of the

         Property. Id.

                  5.       The Purchase Agreement.2 On October 11, 2018, the Purchaser made an all cash

         $700,000 offer on the Property. Sharp Decl. ¶ 5. On October 15, 2018, the Debtors responded

         with a counter offer in the amount of $850,000. Id. On October 15, 2018, the Purchaser

         responded by raising its offer to $730,000. Id. On October 18, 2018, the Debtors responded

         with a second counter offer in the amount of $800,000. Id. On October 18, 2018, the Purchaser

         responded with a best and final offer in the amount of $750,000, which the Debtors accepted on

         October 19, 2018. Id. Following the Purchaser’s inspection of the Property, however, the

         Debtors and the Purchaser agreed to reduce the purchase price to $700,000. Id. Debtors believe

         that this purchase price provides significant value, and accordingly, countersigned the final

         Purchase Agreement on October 19, 2018 and countersigned the escrow instructions, dated

         November 14, 2018, which reflect the reduction in purchase price. Id. Under the Purchase

         Agreement, the Purchaser agreed to purchase the Property for $700,000, with a $22,500 initial

         cash deposit, and the balance of $677,500 to be paid as a single cash down payment due at




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                  In the event of a conflict between the description of the Purchase Agreement set forth in this Motion and
         the Purchase Agreement, the Purchase Agreement shall control.
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         closing. Id. The deposit is being held by A&A Escrow Services, Inc. (the “Escrow Agent”) as

         escrow agent.

                6.       Broker’s Fees. In connection with marketing the Property, the Debtors and the

         Purchaser worked with Douglas Elliman of California, Inc. (“Douglas Elliman”), a non-affiliated

         third-party brokerage company. A true and correct copy of the Residential Listing Agreement

         (the “Broker Agreement”) is attached hereto as Exhibit B. The Broker Agreement provides

         Douglas Elliman with the exclusive and irrevocable right to market the Property for a fee in the

         amount of 5% of the contractual sale price, which, as reflected in the escrow instructions,

         Douglas Elliman agreed to reduce to a fee in the amount of 4% of the contractual sale price (the

         “Broker Fee”). The Purchase Agreement is signed by Max Hutchison of Douglas Elliman on

         behalf of both the Seller and the Purchaser.

                7.       In the Debtors’ business judgment, closing the Sale with Purchaser (and paying

         the associated Broker Fee) pursuant to the offer set forth in the Purchase Agreement is the best

         way to maximize value for the Debtors’ estates and is more favorable than continuing to hold

         and market the Property for sale and thereby risking obtaining a lower purchase price for the

         Property on less favorable terms, while incurring additional carrying costs for the Property.

                8.       Other Closing Costs. In addition to the Broker Fee, the Seller must also satisfy

         certain required costs associated with the sale and transfer of title of the Property to comply with

         the Purchase Agreement (the “Other Closing Costs”). The Other Closing Costs include, but are

         not limited to, recording fees, title insurance policy costs, prorated property taxes, city and

         county transfer taxes, and other items noted on the title report for the Property. The Debtors also

         rely on outside vendors for escrow and title services in connection with property sales. In




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         general, vendors are mutually agreed on by the applicable Debtors and a purchaser prior to the

         acceptance of an offer.

                9.       Absent authority to pay Other Closing Costs, the Seller will be unable to close

         the Sale and receive sale proceeds. If the Seller is unable to make these payments, the Purchaser

         may be entitled to rescind the Purchase Agreement or assert other remedies that could lead to

         additional and unnecessary claims. Accordingly, the Debtors seek the ability to pay Other

         Closing Costs in connection with the Sale.

                10.     Proceeds of the Sale. All proceeds of the Sale (net of the Broker Fee and Other

         Closing Costs) shall be treated by the Debtors in accordance with the Final Order on Debtors’

         Motion for Entry of Interim and Final Orders (I) Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

         364, 507, and 552 Authorizing Debtors to (A) Obtain Postpetition Secured Financing, (B) Use

         Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured Parties; (II) Modifying

         the Automatic Stay; (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(b) and

         4001(c); and (IV) Granting Related Relief [D.I. 724] (the “Final DIP Order”).

                11.     The Fund Lien. The Property is subject to a lien for the benefit of Woodbridge

         Mortgage Investment Fund 2, LLC (the “Fund” and such lien, the “Fund Lien”), which secures

         indebtedness of the Seller to the Fund in connection with the purchase of the Property. The Fund

         has consented to the Sale of the Property free and clear of the Fund Lien.

                                              RELIEF REQUESTED

                12.     Pursuant to sections 105(a) and 363 of the Bankruptcy Code, the Debtors request

         entry of the Sale Order substantially in the form of Exhibit A hereto (i) authorizing the closing of

         the Sale pursuant to the Purchase Agreement, (ii) authorizing and approving the Purchase

         Agreement, and (iii) granting related relief.


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                13.     The Debtors further request that filing of a copy of an order granting the relief

         sought herein in Los Angeles County, California may be relied upon by Fidelity National Title

         Insurance Company (the “Title Insurer”) to issue title insurance policies on the Property.

                14.     The Debtors further request authority to pay the Broker Fee to Douglas Elliman in

         an amount not to exceed 4% of the gross sale proceeds out of such proceeds.

                                       BASIS FOR RELIEF REQUESTED

         I.     Section 363 of the Bankruptcy Code Authorizes the Proposed Sale

                15.     Section 363(c)(1) of the Bankruptcy Code provides that where, as here, the

         Debtors are authorized to operate their business under section 1108 of the Bankruptcy Code, the

         Debtors may enter into transactions, including the sale of property of the estate, in the ordinary

         course of business, without notice or a hearing. 11 U.S.C. § 363(c)(1). Because the Debtors

         believe that the Sale is within the ordinary course of their operations, the Sale should be

         approved pursuant to section 363(c)(1).

                16.     The Debtors do not believe that section 363(b)(1), which authorizes the sale of

         property of the estate other than in the ordinary course of business, applies to the Sale. Even if

         section 363(b)(1) did apply, however, authorization of the Sale would be appropriate because the

         Debtors have a sound business justification for the Sale. See, e.g., Myers v. Martin (In re

         Martin), 91 F.3d 389, 395 (3d Cir. 1996) (noting that under normal circumstances, courts defer

         to a trustee’s judgment concerning use of property under section 363(b) when there is a

         legitimate business justification); In re Lionel Corp., 722 F.2d 1063, 1069 (2d Cir. 1983)

         (“Section 363(b) of the Code seems on its face to confer upon the bankruptcy judge virtually

         unfettered discretion to authorize the use, sale or lease, other than in the ordinary course of

         business, of property of the estate.”).


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                17.     In determining whether a sale satisfies the business judgment standard, courts in

         the Third Circuit require: (i) that there be sound business reasons for the sale; (ii) that accurate

         and reasonable notice of the sale be given; (iii) that the sale yield an adequate price, i.e., one that

         is fair and reasonable; and (iv) that the parties to the sale have acted in good faith. See, e.g.,

         Titusville Country Club v. Pennbank (In re Titusville Country Club), 128 B.R. 396, 399 (Bankr.

         W.D. Pa. 1991).

                18.     The proposed Sale unquestionably satisfies the foregoing test. First, the Sale is

         supported by sound business reasons: after marketing the Property for sale in various

         publications and formally listing the Property on the multiple-listings service for over 195 days,

         the Debtors have concluded that selling the Property on an “as is” basis pursuant to Purchaser’s

         offer is the best way to maximize value for the Debtors’ estates. Sharp Decl. ¶ 4. Second, the

         Debtors have provided reasonable and adequate notice of the sale to interested parties by serving

         notice of this Motion in accordance with Local Rule 9013-1(m), and submit that no other or

         further notice is necessary. Third, the Debtors believe that the Purchase Agreement and the

         purchase price reflected therein represent a fair and reasonable offer for the Property and is a

         reasonable sale price relative to comparable properties in the market in which the Property is

         located. Sharp Decl. ¶ 4. The Purchaser’s all cash offer to acquire the Property was the highest

         and best offer (and the only offer) the Debtors received. Id. Fourth, the Debtors submit that the

         Purchase Agreement was the product of good faith, arm’s-length negotiations between the

         Purchaser and the Seller. Id. ¶ 6.

                19.     The Purchaser is not related to or an affiliate of the Debtors or any of their

         insiders or former insiders. Id. No non-debtor affiliate or current or former officer, director,

         employee, managing member or affiliate of any of the Debtors (other than Seller) is a party to, or


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         broker in connection with, the Sale. Accordingly, the Debtors believe that the Purchaser should

         be entitled to the protections of section 363(m) of the Bankruptcy Code.

         II.      The Debtors Should Be Permitted to Sell the Property Free and Clear

                  20.      Pursuant to section 363(f) of the Bankruptcy Code, a debtor may sell property free

         and clear of liens, claims, encumbrances, and other interests if any one of the following

         conditions is satisfied:

                  (1)    applicable nonbankruptcy law permits the sale of such property free and clear of
                  such interest;

                  (2)      the [lienholder or claimholder] consents;

                  (3)     such interest is a lien and the price at which such property is to be sold is greater
                  than the aggregate value of all liens on such property;

                  (4)      such interest is in bona fide dispute; or

                  (5)    [the lienholder or claimholder] could be compelled, in a legal or equitable
                  proceeding, to accept a money satisfaction of such interest.

         11 U.S.C. § 363(f).

                  21.      Because section 363(f) is stated in the disjunctive, satisfaction of any one of its

         five requirements will suffice to warrant approval of the proposed Sale of the Property.3 See

         Folger Adam Sec., Inc. v. DeMatteis/MacGregor, JV, 209 F.3d 252, 257 (3d Cir. 2000) (section

         363(f) authorizes the sale of a debtor’s assets free and clear of all liens, claims, and interests if

         “any one of [the] five prescribed conditions” is satisfied); In re Kellstrom Indus., Inc., 282 B.R.


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                   Moreover, if a holder of a lien, claim, encumbrance, or other interest receives the requisite notice of this
         Motion and does not object within the prescribed time period, such holder will be deemed to have consented to the
         proposed Sale, and the Property may then be sold free and clear of such holder’s liens, claims, encumbrances, and
         other interests pursuant to the terms proposed herein. See, e.g., Veltman v. Whetzel, 93 F.3d 517, 521 (8th Cir. 1996)
         (failure to object to notice of sale or attend hearing deemed consent to sale for purposes of section 363 of the
         Bankruptcy Code); In re Enron Corp., No. 01-16034 (AJG), 2004 WL 5361245, at *2 (Bankr. S.D.N.Y. Feb. 5,
         2004) (same); Hargrave v. Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (same); In re
         Christ Hosp., 502 B.R. 158, 174 (Bankr. D.N.J. 2013) (“Given adequate notice, failure to object to a § 363 sale has
         been found to constitute consent per § 363(f)(2) to a “free and clear” sale of the non-objector’s interests in property
         being sold.”) (citations omitted), aff’d, Civil Action No. 14-472 (ES), 2014 WL 4613316 (D.N.J. Sept. 12, 2014).
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         787, 793 (Bankr. D. Del. 2002) (property may be sold “free and clear” if at least one of the

         subsections of section 363(f) is met); In re DVI, Inc., 306 B.R. 496, 504 (Bankr. D. Del. 2004)

         (upholding sale of debtors’ property free and clear where there was a bona fide dispute).

                22.     The Debtors will satisfy section 363(f)(2) with respect to the Fund Lien. The

         Fund has consented to the Sale free and clear of all liens, because the Sale provides the most

         effective, efficient, and timely approach to maximizing value with respect to the Property.

                23.     As further detailed in the Motion for Entry of Interim and Final Orders

         (I) Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, and 552 Authorizing Debtors to

         (A) Obtain Postpetition Secured Financing, (B) Use Cash Collateral, (C) Grant Adequate

         Protection to Prepetition Secured Parties; (II) Modifying the Automatic Stay; (III) Scheduling a

         Final Hearing Pursuant to Bankruptcy Rules 4001(b) and 4001(c); and (IV) Granting Related

         Relief [D.I. 22] (the “DIP Motion”), the noteholders of certain of the Debtors (the “Noteholders”)

         may assert security interests in the underlying loan documents for mortgage loans extended from

         such Debtors to the Debtor entities that individually own the Debtors’ properties. However, the

         Debtors contend that no Noteholder has perfected any such security interest. Accordingly, to the

         extent any Noteholder contends that it holds a valid lien on the Property, such lien is subject to

         bona fide dispute, and the Debtors may sell the Property free and clear of such purported lien

         under § 363(f)(4).

                                      REQUEST FOR WAIVER OF STAY

                24.     Any delay in permitting the Debtors to close the Sale could jeopardize the Sale

         with the Purchaser and therefore would be detrimental to the Debtors, their creditors, and their

         estates. Accordingly, and to successfully implement the foregoing, the Debtors seek a waiver of




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         the notice requirements under Bankruptcy Rule 6004(a) and the 14-day stay of any order

         authorizing the use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                                      NOTICE

                25.     The Debtors have provided notice of this Motion to: (i) the Office of the United

         States Trustee for the District of Delaware, (ii) counsel to the DIP Lender, (iii) counsel for the

         Committee, (iv) counsel for the Noteholder Group, (v) counsel for the Unitholder Group, (vi) all

         Noteholders known by the Debtors to have interests in any loan documents associated with the

         Property, (vii) all contractors and contract counterparties known by the Debtors to have been

         associated with the Property, (viii) the Title Insurer, (ix) Douglas Elliman, (x) the Escrow Agent,

         and (xi) all parties that, as of the filing of the Motion, have requested notice in these Chapter 11

         Cases pursuant to Local Rule 2002-1. In light of the nature of the relief requested herein, the

         Debtors submit that no other or further notice is necessary.




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                                                  CONCLUSION

                  WHEREFORE, the Debtors respectfully request that the Court enter an order

         substantially in the form filed herewith, granting the relief requested herein and such other and

         further relief as may be just and proper under the circumstances.

         Dated:     November 27, 2018            /s/ Betsy L. Feldman_
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